                                                       IT IS ORDERED

                                                      Date Entered on Docket: February 25, 2021




                                                      ________________________________
                                                      The Honorable David T. Thuma
                                                      United States Bankruptcy Judge
______________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW MEXICO

     IN RE:

            Mark Fuentes and Michelle Fuentes,

                    Debtors.                           Case No. 21-10014-TR7


                  DEFAULT ORDER GRANTING RELIEF FROM STAY AND
                      ABANDONMENT OF PROPERTY LOCATED AT
                           104 S Lea Ave, Roswell, NM 88203

            This matter came before the Court on the Motion for Relief from Stay and

     Abandonment of Property filed on 1/25/2021, Docket No. 10 (the “Motion”), by Freedom

     Mortgage Corporation (“Movant”). The Court, having reviewed the record and the

     Motion, and being otherwise sufficiently informed, FINDS:

            (a)     On 1/25/2021, Movant served the Motion and notice of the Motion (the

     “Notice”) on counsel of record for Debtors, Mark Fuentes and Michelle Fuentes, and the

     case trustee, Clarke C. Coll, (the “Trustee”) by use of the Court’s case management and

     electronic filing system for the transmission of notices, as authorized by Fed.R.Civ.P.



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  5(b)(3) and NM LBR 9036-1, and on the Debtors and US Trustee by United States first

  class mail, in accordance with Bankruptcy Rules 7004 and 9014;

          (b)    The Motion relates to the following property legally described as:

  The South 44 feet LOT THREE (3) in BLOCK SEVENTEEN (17) of WEST SIDE
  ADDITION, in the City of Roswell, County of Chaves and State of New Mexico, as
  shown on the Official Plat filed in the Chaves County Clerk’s Office on January 1, 1891
  and recorded in Book A of Plat Records, Chaves County, New Mexico, at Page 4.

                 and commonly known as: 104 S Lea Ave, Roswell, NM 88203;

          (c)    The Notice specified an objection deadline of 21 days from the date of

  service of the Notice, to which three days was added under Bankruptcy Rule 9006(f);

          (d)    The Notice was sufficient in form and content;

          (e)    The objection deadline expired on 2/18/2021;

          (f)    As of 2/19/2021, no objections to the Motion have been filed;

          (g)    The Motion is well taken and should be granted as provided herein; and

          (h)    By submitting this Order to the Court for entry, the undersigned counsel

  for Movant certifies under penalty of perjury that on 2/19/2021, McCarthy & Holthus,

  LLP searched the data banks of the Department of Defense Manpower Data Center

  (“DMDC”) and found that the DMDC does not possess any information indicating that

  the Debtors are currently on active military duty of the United States.

          IT IS THEREFORE ORDERED:

          1.     Pursuant to 11 U.S.C. §362(d), Movant and any and all holders of liens

  against the Property, of any lien priority, are hereby granted relief from the automatic

  stay:

          (a)    To enforce their rights in the Property, including foreclosure of liens and a

  foreclosure sale, under the terms of any prepetition notes, mortgages, security


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  agreements, and/or other agreements to which Debtors is a party, to the extent permitted

  by applicable non-bankruptcy law, such as by commencing or proceeding with

  appropriate action against the Debtors or the Property, or both, in any court of competent

  jurisdiction; and

            (b)   To exercise any other right or remedy available to them under law or

  equity with respect to the Property.

            2.    The Property is hereby abandoned pursuant to 11 U.S.C. §554 and is no

  longer property of the estate. Creditor shall not be required to name the Trustee as a

  defendant in any action involving the Property or otherwise give the Trustee further

  notice.

            3.    The automatic stay is not modified to permit any act to collect any

  deficiency or other obligation as a personal liability of the Debtors, although the Debtors

  can be named as a defendant in litigation to obtain an in rem judgment if Debtors are

  granted a discharge, or to foreclose the Property in accordance with applicable non-

  bankruptcy law. Nothing contained herein shall preclude Creditor or and any and all

  holders of liens against the Property, from proceeding against the Debtors personally, to

  collect amounts due, if Debtors' discharge is denied or if Debtors' bankruptcy is

  dismissed.

            4.    This Order shall continue in full force and effect if this case converted to a

  case under another chapter of the Bankruptcy Code.

            5.    This Order is effective and enforceable upon entry. The 14-day stay

  requirement of Fed.R.Bankr.P. 4001(a)(3) is waived.




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         6.      Movant is further granted relief from the stay to engage in loan

  modification discussions or negotiations or other settlement discussions with the Debtors

  and to enter into a loan modification with the Debtors.

                                  ###END OF ORDER###

  RESPECTFULLY SUBMITTED BY:


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